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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

SHELIA HOLMES                                                                    PLAINTIFF

v.                              CASE NO. 4:10-CV-01165-SWW

MICHEAL RUSSEL, Individually and
Officially; and JERRY HENRY,
Individually and Officially                                                  DEFENDANTS


     PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO RESPOND TO
                  MOTION FOR SUMMARY JUDGMENT

        Comes now the Plaintiff and asserts that the following circumstances demonstrate

“good cause” for the above deadline to be extended as requested:

        1.    That due to the substantial time required to address the issues in Defendant’s

Motion, the undersigned’s court schedules, and previously scheduled jury trials, Plaintiff

requires additional time to file Responses to Defendant’s Motion.

        2.      That the Plaintiff is not making this motion for the purpose of delay, but

verily believes that an additional thirty (30) days is necessary in order to timely file a

Response.

        3.      That no party will be prejudiced by the brief extension.

        4.      That this motion is in the best interest of justice and will not affect the

rights of the parties herein.

        5.      That the Plaintiff has in good-faith conferred with opposing counsel, and

she is unopposed to an extension of thirty (30) days.




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       WHEREFORE the undersigned prays that this Court grant an extension of time

of thirty (30) days within which to Respond to Defendant’s Motion for Summary

Judgment filed herein and all other proper and just relief.



                                                      Respectfully submitted,


                                                      /s/Teresa Bloodman
                                                      Teresa Bloodman #2005055
                                                      Attorney for Plaintiff
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                             CERTIFICATE OF SERVICE

I, Teresa Bloodman, hereby certify that on this 11th day of May 2012, I electronically
filed the foregoing with the Clerk of Court using the CM/ECF System, which will send
notification of such filing to all CM/ECF participating counsel of record listed below; and
I further certify that I have mailed the document, via U.S. Mail, postage prepaid, to all
non CM/ECF participants listed below:

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                                                      /s/Teresa Bloodman

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